Case 3:17-cv-08945-MAS-DEA Document 23 Filed 08/01/18 Page 1 of 2 PageID: 651




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Attorney for Lead Plaintiff and Liaison Counsel for the Class

[Additional Counsel on signature page]

                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY
  RANDY SMITH, Individually and on            :
  Behalf of All Others Similarly Situated,    :    Civil Action No.: 17-8945(MAS)(DEA)
                                              :
                        Plaintiff,            :
                                              :
                 v.                           :
                                              :      NOTICE OF MOTION FOR PRO HAC
  ANTARES PHARMA, INC., ROBERT                :       VICE ADMISSION OF JEREMY A.
  F. APPLE and FRED M. POWELL,                :               LIEBERMAN
                                              :
                        Defendants.           :
                                              :

       PLEASE TAKE NOTICE that the undersigned attorneys for Lead Plaintiff, Serghei

Lungu (“Lead Plaintiff”) shall move under Local Civ. R. 101.1(c) for an Order permitting the

pro hac vice admission of Jeremy A. Lieberman on behalf of the Lead Plaintiff.

       PLEASE TAKE FURTHER NOTICE that Lead Plaintiff will rely upon the

Certifications of Bruce D. Greenberg and Jeremy A. Lieberman in support of this motion. A

proposed form of Order is attached.

                                                  LITE DEPALMA GREENBERG LLC

Dated: August 1, 2018                             /s/ Bruce D. Greenberg
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Case 3:17-cv-08945-MAS-DEA Document 23 Filed 08/01/18 Page 2 of 2 PageID: 652




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